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                         IN THE UNITED STATES DISTRICT COURT
                        'FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


H. CRAIG FABIAN,

                       Plaintiff,

v.                                                                   Civil Action No. 3:11CV407

TOWER PROPERTIES, LLC,

                        Defendant.



                     FINAL ORDER OF DISMISSAL WITH PREJUDICE


         Upon motion of PlaintiffH. Craig Fabian, and with the agreement of Defendant Tower

Properties, LLC, it is hereby

         ORDERED that the above-styled action shall be, andhereby is, DISMISSED with

prejudice and strickenfrom the docket of this Court.

         The Clerk is instructed to send a copy of this Orderto all counsel of record.

                                               ENTER: 1° / ^          / //




                                                                    /s/
I ask for this:
                                                     John A. Gibneyjrr.
                                                     United States Distri                   «v_.




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SCHWJ
3876 Sheriddn Street
HollywW Florida 33021
(954) 966*4483                                                                       •=a   r.=
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snitz@szalaw.com
Counselfor PlaintiffF. Craig Fabian
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